                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                         v.

 RIVES MILLER GROGAN,                              Case No. 24-cr-353 (CRC)

                         Defendant.

                   ORDER ADOPTING REPORT AND RECOMMENDATION

        Before the Court is the Report and Recommendation of Magistrate Judge Robin M.

Merriweather, docketed on August 5, 2024. See ECF No. 35. Under Federal Rule of Criminal

Procedure 72(b)(2), a party may serve and file specific written objections to such a Report and

Recommendation within 14 days of being served. The Court has received no written objections

to the Report and Recommendation within the 14-day deadline.

        Having carefully reviewed the findings and conclusions contained in Magistrate Judge

Merriweather’s Report and Recommendation, the Court will adopt in full the Report and

Recommendation as the findings and conclusions of this Court.

        Upon consideration of the Report and Recommendation, the absence of objections, and

the entire record, it is hereby

        ORDERED that the Report and Recommendation is adopted by the Court; and it is

        ORDERED that the parties’ request to cap Defendant’s sentence and maximum fine at a

petty offense level is randomly referred to a Magistrate.
      SO ORDERED.


                            CHRISTOPHER R. COOPER
                            United States District Judge



Date: August 23, 2024




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